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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

    UNITED STATES OF AMERICA)
                                          )
           vs.                            )       CASE NO. 18-20690-CR-UNGARO
                                          )
                                          )
    JENNIFER JOHN CARBON                  )
                                          )
             Defendant.                   )
    ___________________________           )

         DEFENDANT JENNIFER CARBON’S SENTENCING MEMORANDUM

    Mrs. Carbon pled guilty in the instant case and has accepted full responsibility for her
    criminal conduct. This memorandum is solely offered as mitigation for her upcoming
    sentencing hearing set for November 30, 2018.

    The defendant is the sole caretaker for her two minor children, ages fourteen and five.
    She has been separated from her husband for approximately five years and has been the
    primary bread winner and caregiver. Her husband abandoned the family, which is
    something that his father did to him when he was young. The children look exclusively to
    the defendant for all of their financial and emotional needs.

    Throughout her life, Mrs. Carbon has been a fixer and caretaker, putting everyone’s
    needs before her own. Even though she has faced adverse consequences for over
    extending herself to help others, she never allowed those consequences to cease her
    service efforts.

    For the twenty years that she’s been in healthcare, she always followed every guideline.
    She prided herself on never taking advantage of patients in her care and always went
    above and beyond to render the best service possible. She never paid for patients, in spite
    of being afforded countless opportunity to make extra money by going down that
    unlawful path.

    Five years ago, Mrs. Carbon took over a lease in order to develop a health center. The
    center was located at 719 NW 29 Street Miami, FL 33127. She had a very difficult
    transition. The population that she was serving consisted of people who primarily had
    mental health problems, drug addictions, and HIV/AIDS. Additionally, many were
    homeless and prostitutes. At that time, Mrs. Carbon became the fixer of so many of these
    people’s problems. She was on a mission. She became a self-taught, non-medical social
    worker, passionately seeking to help anyone that needed services. Some of the many
    services she performed included educating patients on safeguarding their insurance
    benefits, seeking inpatient drug treatment, applying for co-pay assistance for Hep C and
    HIV patients, and finding non for profit organizations that would help pay co-pays on
    maintenance drugs.


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    After she moved to a new location in Liberty City with a high volume of HIV patients,
    Mrs. Carbon worked diligently to place approximately four hundred patients into care
    within eighteen months. Mrs. Carbon’s service didn’t yield monetary rewards, however,
    she did make a huge difference in so many people’s lives.

    Mrs. Carbon is hoping the Court will show her mercy. She has been working with the
    Government to assist them any way she can. She knows she made poor choices leading to
    her arrest in this case. She knows that she will never do anything like this again.

           I HEREBY CERTIFY that a true and correct copy of the foregoing was
    electronically filed this 19th day of November, 2018.
                                         Respectfully submitted,
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